             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
                          )
             Plaintiff,   )
                          )
v.                        )                   Case No. CR-09-21-SLP
                          )
JOHN CHARLES FLETCHER,    )
                          )
             Defendant.   )

       MOTION TO WITHDRAW AS COUNSEL OF RECORD
   AND REQUEST FOR APPOINTMENT OF SUBSTITUTE COUNSEL

        Paul Antonio Lacy, Federal Public Defender, moves the Court for an order

allowing him and the attorneys of the Office of the Federal Public Defender for the

Western District of Oklahoma to withdraw as counsel of record for the Defendant,

John Charles Fletcher. In support of this motion, counsel states:

        1)    Pursuant General Order 19-1, the Office of the Federal Public Defender

for the Western District of Oklahoma was appointed in all cases in which the

defendant may be eligible for sentencing relief as a result of the First Step Act of

2018;

        2)    Currently, Mr. Fletcher is serving a sentence of life for conspiracy to

possess with intent to distribute and to distribute 50 grams or more of a mixture or

substance containing a detectable amount of cocaine base.

        3)    The undersigned entered an appearance October 4, 2019.
       4)     Mr. Fletcher has communicated his dissatisfaction with counsel’s

representation to the Court. Mr. Fletcher perceives a actual conflict of interest based

on the undersigned having represented a co-defendant who testified at Mr. Fletcher’s

jury trial.

       5)     In light of this communication and the history of this office’s

representation several of Mr. Fletcher’s co-defendants, counsel submits an irreparable

breach of the attorney client relationship has occurred.

       6)     Undersigned counsel submits it is in the best interest of Mr. Fletcher that

an attorney with no history of prior representation in the case be appointed to assist

him. Substitute counsel should confer with Mr. Fletcher to determine whether he

wishes to proceed in propria persona or with the assistance of counsel.

       7)     There are no deadlines scheduled in the case that would be impacted by

granting this request for leave to withdraw and for appointment of substitute counsel.

       Based on the preceding, undersigned counsel and the Federal Public Defender

Office should be allowed to withdraw as counsel of records and substitute counsel

should be appointed for Mr. Fletcher.

                                         Respectfully submitted,
                                         s/ Paul Antonio Lacy
                                         PAUL ANTONIO LACY
                                         ASSISTANT FEDERAL PUBLIC DEFENDER
                                         Bar Number: 5156

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                         CERTIFICATE OF SERVICE

      I hereby certify that on Friday, January 17, 2020, I transmitted the attached
document to the Clerk of the Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to all counsel of record.

      I hereby certify that on Friday, January 17, 2020, copy of the foregoing was
mailed to: John Charles Fletcher, Register Number: 04435-031, AUSP Thomson, U.S.
Penitentiary, PO Box 1002, Thomson, IL 61285.

                                      s/ Paul Antonio Lacy
                                      PAUL ANTONIO LACY




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